      Case 4:18-cv-11451-LVP-EAS
                   Case: 18-1917 Document:
                                 ECF No. 3032-1
                                             filed 03/04/19
                                                   Filed: 03/04/2019
                                                               PageID.1047
                                                                       Page: Page
                                                                             1    1 of 3 (1 of 3)

                                 UNITED STATES COURT OF APPEALS
                                      FOR THE SIXTH CIRCUIT
                                      100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt                  POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                            CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                Filed: March 04, 2019




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Mr. Leonard M. Niehoff
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Ann Arbor, MI 48108
                Re: Case No. 18-1917, Speech First, Inc. v. Mark Schlissel, et al
                      Originating Case No. : 4:18-cv-11451

Dear Counsel,

   The Court issued the enclosed Order today in this case.
      Case 4:18-cv-11451-LVP-EAS
                   Case: 18-1917 Document:
                                 ECF No. 3032-1
                                             filed 03/04/19
                                                   Filed: 03/04/2019
                                                               PageID.1048
                                                                       Page: Page
                                                                             2    2 of 3 (2 of 3)

                                         Sincerely yours,

                                         s/Sharday S. Swain
                                         Case Manager
                                         Direct Dial No. 513-564-7027

cc: Mr. David J. Weaver

Enclosure
        Case 4:18-cv-11451-LVP-EAS
                     Case: 18-1917 Document:
                                   ECF No. 3032-2
                                               filed 03/04/19
                                                     Filed: 03/04/2019
                                                                 PageID.1049
                                                                         Page: Page
                                                                               1    3 of 3 (3 of 3)
                                                Case No. 18-1917

                                       UNITED STATES COURT OF APPEALS
                                            FOR THE SIXTH CIRCUIT

                                                    ORDER

SPEECH FIRST, INC.

               Plaintiff - Appellant

v.

MARK SCHLISSEL, in his official capacity as President of the University of Michigan; E. ROYSTER
HARPER, in her official capacity as Vice President for Student Life at the University of Michigan; ERIK
WESSEL, in his official capacity as Director of the Office of Student Conflict Resolution; JULIO CARDONA,
in his official capacity as Interim Assistant Dean of Students; EDDIE WASHINGTON, JR., in his official
capacity as Executive Director of the Division of Public Safety & Security; ROBERT SELLERS, Vice Provost
for Equity and Inclusion; MICHAEL J. BEHM, in his or her official capacity as member of the University of
Michigan Board of Regents; MARK J. BERNSTEIN, in his or her official capacity as member of the University
of Michigan Board of Regents; SHAUNA RYDER DIGGS, in his or her official capacity as member of the
University of Michigan Board of Regents; DENISE ILITCH, in his or her official capacity as member of the
University of Michigan Board of Regents; ANDREA FISCHER NEWMAN, in his or her official capacity as
member of the University of Michigan Board of Regents; ANDREW C. RICHNER, in his or her official
capacity as member of the University of Michigan Board of Regents; RON WEISER, in his or her official
capacity as member of the University of Michigan Board of Regents; KATHERINE E. WHITE, in his or her
official capacity as member of the University of Michigan Board of Regents

               Defendants - Appellees

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FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION; ALLIANCE DEFENDING FREEDOM;
IMMIGRATION REFORM LAW INSTITUTE

               Amici Curiae

Upon consideration of the motion submitted by Thomas W. Kidd, Jr. for Foundation for Individual Rights in

Education and Alliance Defending Freedom to file as amici curiae,

It is ORDERED that the motion be and is hereby GRANTED.



                                                 ENTERED BY ORDER OF THE COURT
                                                 Deborah S. Hunt, Clerk


Issued: March 04, 2019
                                                 ___________________________________
